               Case 3:21-cr-00490-WHO Document 101 Filed 05/09/22 Page 1 of 2




1    ISMAIL RAMSEY (Bar No. 189820)
     izzy@ramsey-ehrlich.com
2    KATHARINE KATES ((Bar No. 155534)
     katharine@ramsey-ehrlich.com
3    RAMSEY & EHRLICH LLP
     803 Hearst Avenue
4    Berkeley, CA 94710
     (510) 548-3600 (Tel)
5    (510) 291-3060 (Fax)
6    Attorneys for Defendant Mohammed Nuru
7

8                                     UNITED STATES DISTRICT COURT
9                                  NORTHERN DISTRICT OF CALIFORNIA
10                                         SAN FRANCISCO DIVISION
11

12                                                         )       Case No.: 3:21-CR-00490-001 WHO
     UNITED STATES OF AMERICA,                             )
13                                                         )       STIPULATION AND [PROPOSED]
                      Plaintiff,                           )       ORDER TO CONTINUE SENTENCING
14                                                         )       HEARING
             vs.                                           )
15                                                         )       Date: May 26, 2022
     MOHAMMED NURU,                                        )       Time: 1:30 p.m.
16                                                         )       Courtroom: The Honorable William H.
                      Defendant.                           )       Orrick
17                                                         )
                                                           )
18

19
             The defendant Mohammed Nuru is currently scheduled to appear before this Court for his
20
     sentencing hearing on May 26, 2022, at 1:30 p.m.
21
             Mr. Nuru is not in custody. He is released on bail, with a $2 million bond, with $400,000
22
     of that amount secured by a deed of trust on his primary residence. Mr. Nuru has complied with
23
     all terms of his pretrial release and supervision, without any violations.
24
             Due to a confidential and unmovable conflict that has arisen for Mr Nuru’s counsel of
25
     record, Mr. Ismail J. Ramsey, counsel for Mr. Nuru requests that the sentencing hearing be
26
     continued. The United States Probation Officer and AUSA assigned to this matter do not object
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     to a continuance. The next date that all parties and the Court are available is June 30, 2022.
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     Case No.: 3:21-CR-00490-001 WHO
     Stipulation and [Proposed] Order to Continue Sentencing
               Case 3:21-cr-00490-WHO Document 101 Filed 05/09/22 Page 2 of 2




1             Accordingly, the United States and Mr. Nuru stipulate and move this Court to continue
2    the sentencing hearing to June 30, 2022, at 1:30 p.m.
3

4             IT IS SO STIPULATED.
5    Dated: May 9, 2022                                            Respectfully Submitted,
6                                                                  RAMSEY & EHRLICH LLP
7

8
                                                                                 //s//     ___________
                                                                   ISMAIL RAMSEY
9
                                                                   KATHARINE KATES
                                                                   Attorneys for MOHAMMED NURU
10

11                                                                 STEPHANIE HINDS
                                                                   United States Attorney
12

13                                                                               //s//              ________
                                                                   KATHERINE LLOYD-LOVETT
14                                                                 Assistant United States Attorney
15

16            GOOD CAUSE HAVING BEEN SHOWN, IT IS SO ORDERED.
17   Dated:
18
                                                        ___________________________________
19
                                                        THE HONORABLE WILLIAM H. ORRICK
20                                                      UNITED STATES DISTRICT JUDGE

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     Case No.: 3:21-CR-00490-001 WHO
     Stipulation and [Proposed] Order to Continue Sentencing
